                            UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA
                                    501 I STREET, SUITE 15-220
                                     SACRAMENTO, CA 95814

Chambers of
TROY L. NUNLEY
Chief United States District Judge


                     Magistrate Judge Consent in Civil Cases: Know Your Rights!

Delay, congestion, uncertainty, and expense are concerns often expressed by civil litigants. These
concerns have reached a crisis level in the Eastern District of California.

Despite the population of our District nearly doubling since 1979 and a corresponding tremendous
increase in case filings, for the past 40 years our court has only 6 authorized District Judgeship
positions. The U.S. Judicial Conference, the policy-making arm of the federal courts, has
recommended for decades that Congress authorize between 5 and 11 new judgeships for this court.
While the court is doing what it can to ensure Congress is fully informed regarding our current proposed
allocation of 5 new judgeships, we cannot at this point say there is a realistic hope of new District
Judgeships in the foreseeable future.

As a result, the Eastern District has been significantly congested for many years, consistently carrying
average weighted caseloads equal or close to twice the national average for federal trial courts. Given
our current more dire circumstances, civil litigants are having to vie for less and less District Judge time
and attention. Civil litigants therefore may wish to consider consenting to Magistrate Judge jurisdiction,
given that the court has a full complement of experienced Magistrate Judges available to preside to
the full extent allowed by law.

The Magistrate Judge consent process can help bring about the “just, speedy, and inexpensive
determination” of federal cases. Fed. R. Civ. P. 1. Although their title has changed periodically,
Magistrate Judges, as they currently are known, have had a role in the federal courts since passage
of the Judiciary Act of 1789. Over time, Congress has expanded and enhanced the position in the
interests of maximizing judicial efficiency. Specifically, Magistrate Judges are authorized “to conduct
any or all proceedings in a jury or non-jury civil matter and order the entry of judgment in the case”
with the consent of the parties. 28 U.S.C. § 636(c). Consent can maximize access to the courts and
ease court congestion through effective use of judicial resources. It can provide numerous benefits to
litigants including the prospect of an early and firm trial date, when District Judges may not be
available to try a civil case given the need to prioritize felony criminal cases.

In civil cases, the assigned Magistrate Judge already is responsible for resolving discovery disputes,
deciding other non-dispositive motions and in some instances handling pre-trial proceedings; as a
result that judge may be intimately familiar with the case history. Consenting in any civil case allows
the Magistrate Judge to decide dispositive motions and preside over trial, and so can avoid the
uncertainty parties may face while waiting for the District Judge to identify time on his or her calendar
for trial. Just as with a judgment issued by a District Judge, a judgment issued by a Magistrate Judge
to whom the parties in a civil case have consented is appealable directly to the Ninth Circuit Court
of Appeals.

As their professional biographies posted on our court’s website show, our Magistrate Judges are
well-qualified to preside over the cases assigned them. They are experienced, high-caliber judges
with diverse experiences in civil and criminal litigation who have been selected on the merits, taking
into account their education, experience, knowledge of the court system, personal attributes and other
criteria. Our Magistrate Judges are well-qualified to preside over the civil cases brought in our court.
To consent to magistrate judge jurisdiction, a party simply signs and files a consent form. The form is
available on the court’s website, at this link:

                      http://www.caed.uscourts.gov/caednew/index.cfm/forms/civil/.

Parties may consent or withhold consent without any adverse consequences. Once all parties to a
case consent, then the assigned District Judge is notified and considers whether to approve the consent.
Once the District Judge accepts, then the Magistrate Judge determines whether to accept consent
jurisdiction, taking the opportunity to consider any conflicts or bases for recusal.

All litigants before the federal courts deserve justice delivered in a fair, prompt, and efficient manner.
Our Magistrate Judges play a critical role in providing essential access to justice, particularly in our
overburdened court. Consenting to Magistrate Judge jurisdiction in civil cases may represent one of
the best ways to secure “just, speedy, and inexpensive determination” of your case, which is why we
want to be sure you are fully aware of your right and ability to consent, and the means of doing so.
                      NOTICE OF AVAILABILITY OF A MAGISTRATE JUDGE

                    TO EXERCISE JURISDICTION AND APPEAL INSTRUCTIONS


   You are hereby notified in accordance with 28 U.S.C §636(c), F.R.Civ.P.73 and Local Rule 305,

the United States Magistrate Judges sitting in Sacramento and Fresno are available to exercise the

court’s case-dispositive jurisdiction and to conduct any or all case-dispositive proceedings in this

action, including motions to dismiss, motions for summary judgment, a jury or non jury trial, and entry

of a final judgment. Exercise of this jurisdiction by a Magistrate Judge is however, permitted only if

all parties voluntarily consent. You may, without adverse substantive consequences, withhold your

consent, but this will prevent the court’s case-dispositive jurisdiction from being exercised by a

Magistrate Judge.

   Any appeal from a judgment entered by a Magistrate Judge is taken directly to the United States

Court of Appeals for the Ninth Circuit or, where appropriate, for the Federal Circuit in the same

manner as an appeal from any other judgment of a District Court.

   Whether or not the parties consent pursuant to 28 U.S.C. § 636(c), the assigned Magistrate Judge

will hear all motions except those case-dispositive motions set forth in 28 U.S.C. § 636(b)(1)(A).

    A copy of the Form for “Consent to / Decline of Jurisdiction of United States Magistrate Judge”

is attached hereto for pro per use and attorney information. This form is available in fillable .pdf format

on the court’s web site at www.caed.uscourts.gov for all attorney ECF filers. This form may be filed

through CM/ECF or by pro se litigants at the appropriate Clerk’s Office location.




          Office of the Clerk                                Office of the Clerk
          501 I Street, Room 4−200                           2500 Tulare Street, Suite 1501
          Sacramento, CA 95814                               Fresno, CA 93721
                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA




CENTER FOR BIOLOGICAL DIVERSITY ,                                     CASE NO: 2:24−CV−03756−DAD−CKD
              Plaintiff(s) / Petitioner(s),

              vs.                                                        CONSENT / DECLINE OF U.S.
                                                                      MAGISTRATE JUDGE JURISDICTION
U.S. FISH AND WILDLIFE SERVICE , ET AL. ,
               Defendant(s) / Respondent(s).




                                              IMPORTANT
     IF YOU CHOOSE TO CONSENT OR DECLINE TO CONSENT TO JURISDICTION OF
     A UNITED STATES MAGISTRATE JUDGE, CHECK AND SIGN THE APPROPRIATE
           SECTION OF THIS FORM AND RETURN IT TO THE CLERK'S OFFICE.




          CONSENT TO JURISDICTION OF UNITED STATES MAGISTRATE JUDGE

          In accordance with the provisions of Title 28, U.S.C Sec. 636(c)(1), the undersigned
         hereby voluntarily consents to have a United States Magistrate Judge conduct all further
        proceedings in this case, including trial and entry of final judgment, with direct review by
                   the Ninth Circuit Court of Appeals, in the event an appeal is filed.


     Date: ___________________            Signature: _______________________________

                                          Print Name: ______________________________
                                                       ( ) Plaintiff / Petitioner    ( ) Defendant / Respondent
                                          Counsel for___________________________________*




           DECLINE OF JURISDICTION OF UNITED STATES MAGISTRATE JUDGE

             Pursuant to Title 28, U.S.C. Sec 636(c)(2), the undersigned acknowledges the
             availability of a United States Magistrate Judge but hereby declines to consent.


     Date: ___________________            Signature: _______________________________

                                          Print Name: ______________________________
                                                        ( ) Plaintiff / Petitioner    ( ) Defendant / Respondent
                                          Counsel for___________________________________*

*If representing more than one party, counsel must indicate the name of each party responding.
